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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

John Doe
                                     Plaintiff,
v.                                                      Case No.: 1:16−cv−08298
                                                        Honorable Edmond E. Chang
University of Chicago, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Saturday, February 3, 2018:


         MINUTE entry before the Honorable Edmond E. Chang: The parties are reminded
that, at the next status hearing, the litigation track will resume if the stipulated dismissal
has not been filed. There were around 2 months remaining on the fact discovery clock
when the parties reported the settlement, so that will be the approximate time remaining.
The Court also will ask about the status of written discovery. Emailed notice(eec)




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